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                                IN THE UNITED STATES DISTRICT COURT
                                 FOR THE EASTERN DISTRICT OF TEXAS
                                         MARSHALL DIVISION

  TQ Delta, LLC,
                   Plaintiff,

  v.                                                     Civil Action No.: 2:21-CV-00310-JRG

  CommScope Holding Company, Inc., et al.,               JURY TRIAL DEMANDED
              Defendants.



             PLAINTIFF TQ DELTA, LLC’S CORRECTED FIRST AMENDED
                             TRIAL WITNESS LIST

        Plaintiff TQ Delta, LLC (“TQ Delta”), pursuant to the Court’s Docket Control Order

 entered in this case, serves this Corrected First Amended Trial Witness List for identification and

 categorization of trial witnesses.

         At this time, Plaintiff identifies the following witnesses for trial:

           WITNESS, Employer, Topic of                    WILL CALL              MAY CALL
           Testimony
  1.       Abha Divine, See TQ Delta’s 8.19.22                   X
           Third Amended Initial Disclosures
  2.       Marcos Tzannes, See TQ Delta’s                        X
           8.19.22 Third Amended Initial
           Disclosures
  3.       Art Brody, Ph.D.,                                     X
           Infringement/Validity
  4.       Todor Cooklev, Ph.D.,                                 X
           Infringement/Validity
  5.       Vijay Madisetti, Ph.D.,                               X
           Infringement/Validity
  6.       Jonathan Putnam, Ph.D., Damages                       X
  7.       Peter Heller, Ph.D., VDSL2/G.INP                      X
           Chip design per 8.29.22 expert report
  8.       CommScope’s Corporate                                 X
           Representative (Adverse), See TQ
           Delta’s 8.19.22 Third Amended Initial
           Disclosures




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         WITNESS, Employer, Topic of             WILL CALL     MAY CALL
         Testimony
  9.     Michael Tzannes, See TQ Delta’s                            X
         8.19.22 Third Amended Initial
         Disclosures
  10.    Bruce Bernstein, See TQ Delta’s                            X
         8.9.22 Third Amended Initial
         Disclosures
  11.    Mark Roche, See TQ Delta’s 8.19.22                         X
         Third Amended Initial Disclosures
  12.    Kevin Russell, See TQ Delta’s 8.19.22                      X
         Third Amended Initial Disclosures
  13.    Christopher Cahill, See TQ Delta’s                         X
         8.19.22 Third Amended Initial
         Disclosures
  14.    David Krinsky, See TQ Delta’s                              X
         8.19.22 Third Amended Initial
         Disclosures
  15.    Robert Pizzano, See TQ Delta’s                             X
         8.19.22 Third Amended Initial
         Disclosures
  16.    Edmund Reiter, See TQ Delta’s                              X
         8.19.22 Third Amended Initial
         Disclosures
  17.    Michael Lund, See TQ Delta’s 8.19.22                       X
         Third Amended Initial Disclosures
  18.    Benjamin Miller, See TQ Delta’s                            X
         8.19.22 Third Amended Initial
         Disclosures
  19.    Paul Baker, See TQ Delta’s 8.19.22                         X
         Third Amended Initial Disclosures
  20.    Jaime Salazar, See TQ Delta’s 8.19.22                      X
         Third Amended Initial Disclosures
  21.    Steve Cochran, See TQ Delta’s                              X
         8.19.22 Third Amended Initial
         Disclosures
  22.    Rajagopalan Ramanujam, See TQ                              X
         Delta’s 8.19.22 Third Amended Initial
         Disclosures
  23.    Raphael Cassiers, See TQ Delta’s                           X
         8.19.22 Third Amended Initial
         Disclsoures
  24.    Gong-San Yu, See TQ Delta’s 8.19.22                        X
         Third Amended Initial Disclosures




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         WITNESS, Employer, Topic of               WILL CALL   MAY CALL
         Testimony
  25.    Courtney Rosenthal, See TQ Delta’s                         X
         8.19.22 Third Amended Initial
         Disclosures
  26.    Jim Shead, See TQ Delta’s 8.19.22                          X
         Third Amended Initial Disclosures
  27.    George Zimmerman, Ph.D., See                               X
         CommScope’s Opening and Rebuttal
         Expert Reports.
  28.    Naofal Al-Dhahir, Ph.D, See                                X
         CommScope’s Rebuttal Expert
         Reports
  29.    Nigel Jones, See CommScope’s                               X
         Rebuttal Expert Reports
  30.    Walter Overby, See CommScope’s                             X
         Rebuttal Expert Reports
  31.    Mark Lanning, See CommScope’s                              X
         Opening and Rebuttal Expert Reports




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Dated: March 13, 2023                      Respectfully Submitted,

                                           /s/ William E. Davis, III
                                           William E. Davis, III
                                           Texas State Bar No. 24047416
                                           bdavis@davisfirm.com

                                           Christian J. Hurt
                                           Texas State Bar No. 24059987
                                           churt@davisfirm.com

                                           Rudolph “Rudy” Fink IV
                                           Texas State Bar No. 24082997
                                           rfink@davisfirm.com

                                           Edward Chin
                                           Texas State Bar No. 50511688
                                           echin@davisfirm.com

                                           Ty Wilson
                                           Texas State Bar No. 24106583
                                           twilson@davisfirm.com

                                           THE DAVIS FIRM PC
                                           213 N. Fredonia Street, Suite 230
                                           Longview, Texas 75601
                                           Telephone: (903) 230-9090
                                           Facsimile: (903) 230-9661

                                           Peter J. McAndrews
                                           (Pro hac vice)
                                           pmcandrews@mcandrews-ip.com

                                           Rajendra A. Chiplunkar
                                           (Pro hac vice)
                                           rchiplunkar@mcandrews-ip.com

                                           Ashley Ratycz (admitted pro hac vice)
                                           aratycz@mcandrews-ip.com

                                           MCANDREWS, HELD & MALLOY, LTD.
                                           500 West Madison St., 34th Floor
                                           Chicago, IL 60661
                                           Telephone: (312) 775-8000
                                           Facsimile: (312) 775-8100

                                           ATTORNEYS FOR PLAINTIFF
                                           TQ Delta, LLC
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                                      CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document and all attachments thereto are being filed

electronically in compliance with Local Rule CV-5(a). As such, this document is being served this March 13,

2023 on all counsel of record, each of whom is deemed to have consented to electronic service. L.R. CV-

5(a)(3)(A).

                                                          /s/William E. Davis, III
                                                          William E. Davis, III




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